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   11   Attorneys for Defendant:
   12   FVDD, LLC

   13                       UNITED STATES DISTRICT COURT
   14
                           CENTRAL DISTRICT OF CALIFORNIA
   15

   16   JAMES RUTHERFORD, an                   Case No.: 8:20-cv-01292-JLS-DFM
        individual,
   17                                          Hon. Josephine L. Staton
   18         Plaintiff,
                                               JOINT NOTICE OF SETTLEMENT
   19   v.
   20                                          Complaint Filed: July 20, 2020
                                               Trial Date: None Set
   21     FVDD, LLC, a California limited
   22    liability company; and DOES 1-10,
         inclusive,
   23

   24        Defendants.

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                               JOINT NOTICE OF SETTLEMENT
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    1         TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
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              Plaintiff, JAMES RUTHERFORD, and Defendant, FVDD, LLC., (the
    3

    4
        “Parties”) have reached a settlement in this matter and expect to file a joint

    5   stipulation for dismissal of the action pending completion of certain terms of the
    6
        confidential settlement agreement.
    7

    8   Dated: September 28, 2021                     MANNING LAW, APC

    9
                                                By:   /s/ Joseph R. Manning, Jr. Esq.
   10                                                 Joseph R. Manning, Jr., Esq.
   11                                                 Attorneys for Plaintiff,
                                                      James Rutherford
   12

   13   Dated: September 28, 2021                     AMUSEMENT INDUSTRY, INC.

   14                                           By:   /s/ Bashir Eustache
   15                                                 Bashir Eustache
                                                      Attorney for Defendant,
   16                                                 FVDD, LLC
   17
                                  CERTIFICATE OF SERVICE
   18
              I certify that on September 28, 2021, I electronically filed the foregoing
   19
        document with the Clerk of the Court using CM/ECF. I also certify that the
   20
        foregoing document is being served this day on counsel of record in this action via
   21
        email transmission and via transmission of Electronic Filing generated by
   22
        CM/ECF.
   23
                                                       Respectfully submitted,
   24

   25   Dated: September 28, 2021                     MANNING LAW, APC
   26                                           By:   /s/ Joseph R. Manning, Jr. Esq.
   27                                                 Joseph R. Manning, Jr., Esq.
                                                      Attorneys for Plaintiff
   28                                                 James Rutherford
                                  JOINT NOTICE OF SETTLEMENT
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Case 8:20-cv-01292-JLS-DFM Document 29 Filed 09/28/21 Page 3 of 3 Page ID #:158




    1                             SIGNATURE ATTESTATION
    2
              Pursuant to Civil L.R 5-4.3.4(a)(2)(i), I hereby attest that all other
    3

    4
        signatories listed, and on whose behalf the filing is submitted, concur in this

    5   document’s content and have authorized the filing of this document with the use
    6
        of their electronic signature.
    7

    8

    9   Dated: September 28, 2021                      MANNING LAW, APC
   10                                           By:    /s/ Joseph R. Manning, Jr. Esq.
   11                                                  Joseph R. Manning, Jr., Esq.
                                                       Attorneys for Plaintiff
   12                                                  James Rutherford
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                                  JOINT NOTICE OF SETTLEMENT
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